         Case
       Case    2:07-cv-01225-LPL
            2:05-mc-02025        Document
                             Document 3442 1 Filed
                                             Filed 09/11/2007
                                                   09/11/07 Page 1 of14of 4
                                                              Page



                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA
                       COURT FILE NO.: CV -


Joseph Gualtieri

               Plaintiff,
v.                                                                  COMPLAINT

National Enterpise Systems, Inc.

               Defendant.                                     JURY TRIAL DEMANDED


                                         JURISDICTION

1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §

       1692k(d).

2.     This action arises out of Defendant’s violations of the Fair Debt Collection Practices Act, 15

       U.S.C. § 1692 et seq. (“FDCPA”).

3.     Venue is proper in this District because the acts and transactions occurred here, Plaintiff

       resides here, and Defendant transacts business here.

                                               PARTIES
4.     Plaintiff Joseph Gualtieri is a natural person who resides in the City of Pittsburgh, County of

       Allegheny, Commonwealth of Pennsylvania, and is a “consumer” as that term is defined by

       15 U.S.C. § 1692a(3).

5.     Defendant National Enterprise Systems, Inc. (hereinafter “Defendant NES”) is a foreign

       corporation and a collection agency operating from an address of 29125 Solon Road, Solon,

       Ohio 44139 and is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).




                                                -1-
        Case
      Case    2:07-cv-01225-LPL
           2:05-mc-02025        Document
                            Document 3442 1 Filed
                                            Filed 09/11/2007
                                                  09/11/07 Page 2 of24of 4
                                                             Page



                                   FACTUAL ALLEGATIONS

6.    Plaintiff incurred a financial obligation that was primarily for personal, family or

      household purposes, that went into default for late payment, and is therefore a “debt” as

      that term is defined by 15 U.S.C. § 1692a(5), namely, a credit card, which was used by

      Plaintiff to make personal purchases of food, clothing, and shelter-related items.

7.    The Plaintiff’s alleged debt was consigned, placed or otherwise transferred to Defendant

      for collection from Plaintiff, when thereafter Plaintiff started receiving collection

      communications from Defendant in an attempt to collect this debt.

                          Messages left on Plaintiff’s answering machine

8.    Within the past year, the Defendant left messages on Plaintiff’s answering machine and

      failed to identify itself as a debt collector.

9.    These calls from Defendant NES to Plaintiff are collection communications in violation of

      15 U.S.C.§ 1692e(11) the FDCPA.

                                          Illegal Phone Call

10.   On or about July 19, 2007, Ray King, an employee of Defendant NES, threatened to garnish

      Plaintiff’s wages, threatened to file suit and suggested Plaintiff retain legal counsel.

11.   It is illegal in Pennsylvania for a debt collector to garnish wages.

12.   The Plaintiff didn’t settle with Defendant NES.

13.   NES did not institute legal proceedings.

14.   Defendant NES had no intention of filing suit against the Plaintiff and the threat to file suit

      by Ray King and his suggestion that Plaintiff retain legal counsel created a false sense of

      urgency




                                                   -2-
        Case
      Case    2:07-cv-01225-LPL
           2:05-mc-02025        Document
                            Document 3442 1 Filed
                                            Filed 09/11/2007
                                                  09/11/07 Page 3 of34of 4
                                                             Page



15.   This call from Defendant NES is a collection communication in violation of numerous and

      multiple provisions of the FDCPA, including but not limited to 15 U.S.C. §§ 1692e,

      1692e(4), 1692e(5), 1692e(10), and 1692f amongst others.

                                             Summary

16.   The above-detailed conduct by Defendant, of harassing Plaintiff in an effort to collect this

      debt violated numerous and multiple provisions of the FDCPA, including but not limited to

      all of the above mentioned provisions of the FDCPA.

17    Plaintiff has suffered actual damages as a result of these illegal collection communications

      by this Defendant in the form of anger, anxiety, emotional distress, fear, frustration, upset,

      humiliation, embarrassment, amongst other negative emotions, as well as suffering from

      unjustified and abusive invasions of personal privacy.

                                     CAUSE OF ACTION

                                            COUNT I.

        VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                    15 U.S.C. § 1692 et seq.

18.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

19.   The foregoing intentional and negligent acts and omissions of the Defendant constitute a

      violation of the FDCPA including, but not limited to, each and every one of the above-

      cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

20.   As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to actual

      damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to




                                                -3-
           Case
         Case    2:07-cv-01225-LPL
              2:05-mc-02025        Document
                               Document 3442 1 Filed
                                               Filed 09/11/2007
                                                     09/11/07 Page 4 of44of 4
                                                                Page



         $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and

         costs pursuant to 15 U.S.C. § 1692k(a)(3) from the Defendant herein.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against the Defendant:

                                               COUNT I.

             VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                        15 U.S.C. § 1692 et seq.

         •    for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

              §1692k(a)(2)(A) against the Defendant and for Plaintiff;

         •    for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1); and

         •    for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

              1692k(a)(3) against the Defendant and for Plaintiff.



                                                      Respectfully submitted,

Dated:                                                JEFFREY L. SUHER, P.C.

                                                      By: s/Jeffrey L. Suher
                                                      Jeffrey L. Suher, Esq.
                                                      Attorney I.D.#74924
                                                      4328 Old William Penn Highway, Suite 2J
                                                      Monroeville, PA 15146
                                                      Telephone: (412) 374-9005
                                                      Facsimile: (412) 374-0799
                                                      lawfirm@jeffcanhelp.com

                                                      Attorney for Plaintiff




                                                   -4-
